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 NOTE DATED: 03/05/2018 08:37
 LOCAL TITLE: INSTITUTIONAL DISCLOSURE OF ADVERSE EVENT
 STANDARD TITLE: COMMUNICATION OF ADVERSE EVENT
 VISIT: 03/05/2018 08:37 FTW A NOTE-X
 INSTITUTIONAL DISCLOSURE OF ADVERSE EVENT

 Date/Time of Discussion: February 22,2018 @ 2:30pm

 Place of Discussion (Reason for any delay in the disclosure):    Fort Wayne
 Conference room

 Names and identity of those pr-esent:
  Martin Heifner- Veteran
  Dr. McBride- Chief of Staff
  Dr, Becker- Podiatrist
  Nicole Gust- HSS to COS

 Discussion points of the adverse event:


 Mr. Heifner was referred to Dr. Hammersley from another podiatrist for severe
 pain in the left leg for about 15 days. MRI showed lesion and bruise of soleus
 leg muscle. Dr. Hammersley documents that the MR) showed well defined mass ·in
 medial head of the gastrocnemius and diagnosed the patient with ruptured muscled
·with neoplasm of uncertain behavior at medial head of gastric. The MRI does.not
 support this diagnosis. Dr. Hammersley ordered the Veteran to wear a boot. to
 allow the muscl"e to heal. About 2 months later, Dr. Hammersley planned to
 removed mass and repair of Achilles tendon with human dermal graft. Veteran was
 sent to a community hospital for the surgery to be performed by Dr. Hammersley
 on 6-17-14. The 6-17-14 surgery report documents that Dr. Hammersley focused on
 the medial gastrocnemius muscle and not the lateral soleus where the mass was
 located. The surgery report also indicates that Dr. Hammersley used Fiber wire
 in the muscle which is not the correct suture. Finally, the surgery report
 suggest that Dr. Hammersley never repaired the Achilles Tendon that he said was
 ruptured. The pathology from the mass that was removed showed fibroadipose
 tiss.ue and skeletal muscle with no specific diagnostic abnormality recognized.

He continued to have pain and was seen by Dr. Hammersley on 11-5-14 presenting
for a "new injury to late:i::al left posterior leg". ·An ultrasound was performed on
that date and the patient was diagnosed with a partial tear of the superficial
fascia of the left lateral gastrocnemius muscle. The patient was seen twice by
Dr. Hammersley.between 11/5/14 and the date of surgery 9/25/15 (10 ? months
later) . Patient as surge~y 9-25-15 for Left Achilles tendon repair with graft.
Dr. Hammersley operative narrative does not support Achilles Tendon Repair. He
also documents using the incorrect suture type for the procedure.

The timeframe of fixing the Acute Partia1 tear of the superficial fascia on the
left lateral gastrocnemius muscle was passed 21 days ·after the injury.

o         Lack of or inappropriate diagnostic testing.
o         Studies or imaging did not confirm surgical diagnosis or ·findings.


Offer of assistance, inciuding arrangements ·for a second opinion, additional
                        ** THIS NOTE CONTINUED ON NEXT PAGE **
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HEIFNER,MARTIN LUTHER                                       · Printed:03/09/2018 08:53
                        VA NORTHERN INDIANA HEALTHCARE SYSTEM
                                  Pt Loe: OUTPATIENT               Ph: (419)263-8023C.
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                                                                           EXHIBIT 1
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monitoring, expediting clinical ·consultations,_bereavement support:

Veteran was offered evaluation and treatment in the podiatry service if needed.
The Veteran reports that he has had no negative outcomes other than three numb
to~s that don't bother him.



Advisement of 1151 claims process and right to file administrative
tort claim: Veteran was informed of his rights to file a 1151 disability
claim and/or administrative Tort Claim. Financial Compensation after an injury
brochure was provided to the Veteran as well as a blank disability claims
application and SF-95 Tort Claims form.

Continued communication regarding the adverse event:
Veteran was given Jana Bakle's contact information to follow up with any
additional questions he may have.

Contact information for individual managing the     disclo~ure:
Jana Eakle
260-426-5431 ext 71522


                    Signed by: /es/ JANA M EAKLE
                                    RISK MANAGER
                                    03/05/2018 08:38




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